    Case: 1:22-cv-07339 Document #: 74 Filed: 05/31/24 Page 1 of 7 PageID #:217




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS

SEAN PAUL REYES,              )
                              )
Plaintiff,                    )
                              )
v.                            )   Case No. 22 CV 7339
                              )
CITY OF BERWYN, et al.,       )
                              )
Defendants.                   )
                              )
MOTION FOR SANCTION UNDER COURT’S INHERENT POWERS AND FOR
           RULE TO SHOW CAUSE WITH RESPECT TO PLAINTIFF

       NOW COMES the Defendants, the CITY OF BERWYN, VOLANTI, and

MONACO, by and through their attorney Cynthia S. Grandfield of Del Galdo Law Group,

LLC, and in support of their motion argue:

I. Relevant Background

       This case is brought by a YouTube personality who calls himself the “Long Island

Audit.” In December of 2023, this matter was set for a settlement conference before

Magistrate Judge Cole. At the conclusion of the settlement conference, the parties failed

to reach an agreement - the City offered some money, but not as much as Reyes wanted.

As documented in defense counsel’s response in opposition to a motion to compel and a

motion for a protective order, immediately after that settlement conference, defense

counsel started getting a series of calls, emails and even text messages that were

extremely offensive. Defense counsel then learned that the reason for this was because

Mr. Reyes had posted a video to his YouTube channel about the case, that the case did

not settle, and flashing defense counsel’s profile in the background. See. Dkt. No. 57, p.

4-6. Then in March of 2024, Reyes’ counsel went back on his previous agreement, and


                                             1
    Case: 1:22-cv-07339 Document #: 74 Filed: 05/31/24 Page 2 of 7 PageID #:218




wanted to video record the depositions. Reyes’ counsel refused to agree that any video

recording would only be used in the court proceedings. Defense counsel filed for a

protective order to that effect and also requesting that the YouTube portion of the video

flashing her profile be taken down. The Court granted that motion on March 12, 2024.

See Dkt. No. 61.

       As the Court is aware, dispositive motions were due in this case on May 24, 2024.

On May 22, 2024, defense counsel began again receiving phone calls and emails that

were offensive. For example (from realpw@gmail.com):

You're ugly. You're stupid. You protect towns that violate people's first amendment
rights and then block depositions from going public. Not only is your face ugly but
you're just an ugly person personality wise. Stop practicing law and just go away. You're
living proof that making it to the deans list doesn't mean you're smart, or a good person.
You say you handle civil rights cases but on the flipside you do not things like protect
towns that violate first amendment rights and then block depositions from going public
because you know you look and sound like a fucking idiot.

Sincerely,

Fuck off


Defense counsel got an email about a new posting by Mr. Reyes. Upon clicking on it, she

learned that beginning at approximately the 45 minute and continuing on for 15

minutes, Mr. Reyes rants against defense counsel, repeatedly posts her profile, and also

indicates he’s not going to follow the judge’s order to not use the videos of the

depositions because “it violates his First Amendment rights.” See https://

www.youtube.com/watch?v=xIlfvyR8k50&t=1s. 44:08. (299k views as of 05/31/2024;

posted on 05/22/2024). Defense counsel’s law firm had to turn off their phones.

Defense counsel was further advised that upon a previous post Berwyn police

department’s system was hacked and was forwarded a voicemail to Ms. Siaba Green that

                                             2
     Case: 1:22-cv-07339 Document #: 74 Filed: 05/31/24 Page 3 of 7 PageID #:219




repeatedly called her a “f***ing c***” and told her that “something might happen to her”

during the course of the criminal proceedings before the charges were dismissed.

       On May 24, 2024, defense counsel moved for and received an extension of time

to file dispositive motions until May 31, 2024. See Dkt. No. 71, 72. Today, defense

counsel again got a message from someone with a new post - this time the “Long Island

Auditor” - Mr. Reyes has come onto the YouTube channel of another YouTuber to again

discuss me, the taking down of my profile, and the Court not allowing him to post the

video depositions of the defendants. See https://youtu.be/Zebt21GFg-I?

si=fQGJ1PwpwfVaLNxB. (117k views as of 05/31/2024; posted on 05/30/2024).

During the course of the video, Reyes is very much aware and fully believes that he is

violating this Court’s order stating: “I’m pretty sure I’m going to get a good talking to by

the judge or something, I don’t know.” They then discuss how both this Court and

defense counsel are “corrupt” and “thugs” engage in per se defamation by referring to us

as committing “racketeering.” See Id. at 12:36. She then refers to the Court as a “thief”

that “stole” from Reyes and “dares that judge to try” to stop her from saying anything.

See Id. At 13:45-15:02.

I.   Applicable Standards

       With respect to the Court’s inherent power to sanction, “[a] court has the

inherent authority to manage judicial proceedings and to regulate the conduct of those

appearing before it, and pursuant to that authority may impose appropriate sanctions to

penalize and discourage misconduct.” Rojas v. X Motorsport, Inc., 2017 WL 4281124, at

*9 (N.D. Ill. Sept. 27, 2017) (quoting Ramirez v. T & H Lemont, Inc., 845 F.3d 772, 776

(7th Cir. 2016) ). Parties may not behave inappropriately during litigation, and district


                                             3
    Case: 1:22-cv-07339 Document #: 74 Filed: 05/31/24 Page 4 of 7 PageID #:220




courts may “fashion an appropriate sanction for conduct which abuses the judicial

process.” Chambers v. NASCO, Inc., 501 U.S. 32, 44-45 (1991). Sanctions may be

imposed pursuant to rule, statute, or the court's inherent authority. See Roadway

Express, Inc. v. Piper, 447 U.S. 752, 765 (1980) (describing the “ ‘well-acknowledged’

inherent power of a court to levy sanctions in response to abusive litigation practices”).

Sanctions imposed under the court's inherent authority “are appropriate where a party

has willfully abused the judicial process or otherwise conducted litigation in bad faith.”

Tucker v. Williams, 682 F.3d 654, 662 (7th Cir. 2012); see also Ramirez v. T&H

Lemont, Inc., 845 F.3d 772, 776 (7th Cir. 2016) (“[A] court ... pursuant to [its inherent]

authority may impose appropriate sanctions to penalize and discourage misconduct.”).

Further, a court has inherent authority to impose sanctions for litigation misconduct

that involves “bad faith, designed to obstruct the judicial process, or a violation of a

court order.” REXA, Inc. v. Chester, 42 F.4th 652, 671 (7th Cir. 2022).

Inherent authority sanctions “remedy prejudice to a party” and “deter future parties

from trampling upon the integrity of the court.” Salmeron v. Enter. Recovery Sys., Inc.,

579 F.3d 787, 797 (7th Cir. 2009) (internal quotation marks omitted).

       With respect to a rule to show cause, the “The court's power to enforce its order

by civil contempt rests in its inherent limited authority to enforce compliance with court

orders and ensure judicial proceedings are conducted in an orderly manner.” Pearle

Vision, Inc. v. Romm, 541 F.3d 751, 757 (7th Cir. 2008). To prevail on its request for a

contempt finding, Plaintiff “must establish by clear and convincing evidence that (1) a

court order sets forth an unambiguous command; (2) the alleged contemnor violated

that command; (3) the violation was significant, meaning the alleged contemnor did not


                                              4
       Case: 1:22-cv-07339 Document #: 74 Filed: 05/31/24 Page 5 of 7 PageID #:221




substantially comply with the order; and (4) the alleged contemnor failed to make a

reasonable and diligent effort to comply.” S.E.C. v. Hyatt, 621 F.3d 687, 692 (7th Cir.

2010).

III.     Argument

         With respect to the inherent power to sanction, the Seventh Circuit has affirmed

and approved of the use of this inherent power with respect to social media postings.

The Court has inherent authority to manage the judicial processing and regulate the

conduct of Sean Reyes; pursuant to this authority, the Court may impose sanctions to

penalize and discourage the Plaintiff’s misconduct. Ramirez v. T&H Lemont, Inc., 845

F.3d 772, 776 (7th Cir. 2016). Any sanctions imposed by the Court must be based on a

finding that the Plaintiff “willfully abused the judicial process or otherwise conducted

the litigation in bad faith.” Id. The Seventh Circuit has upheld the Court’s inherent

power to sanction with respect to social media postings. Emerson v. Dart, 900 F.3d 469,

469 (7th Cir. 2018); Newson v. Oakton Cmty. Coll., No. 22-2279, 2023 WL 355190, at *1

(7th Cir. Jan. 23, 2023). The Seventh Circuit in Emerson v. Dart found that the district

court did not abuse its discretion when it sanctioned the plaintiff $17,000 for making a

Facebook post threatening potential witnesses with legal action if they testified against

her. Emerson v. Dart, 900 F.3d 469, 469 (7th Cir. 2018). The plaintiff argued that her

Facebook post could be “read fairly as an open call to the union members to testify

truthfully” because she only threatened liars with legal action. Id. at 473. The Seventh

Circuit found the plaintiff’s argument unconvincing. Id. Accordingly, the court held that

the plaintiff’s Facebook post merited sanctions as she targeted and publicly threatened

potential witnesses. Id.


                                             5
    Case: 1:22-cv-07339 Document #: 74 Filed: 05/31/24 Page 6 of 7 PageID #:222




       With respect to the inherent power to sanction, in this case, Reyes can be found

to have acted in bad faith. He already implicitly knew that he was asked to remove that

portion of the post and he knew that he was asked to do so based on the effect of his post

resulting in harassing and offensive conduct by his followers towards defense counsel.

As documented in the defendants’ motion for a protective order (See Dkt. No. 57), this

was made immediately after the unsuccessful settlement conference. Similarly,

following the same course of conduct, not only is Reyes posting this when he knows the

effect (so he is endorsing and encouraging the same), but he does it from a critical

timing aspect just before dispositive motions are due. See Mai v. Nine Line Apparel,

2019 WL 5092478, *4-5 (S.D. Ga. 2019)(Moore, J.)(holding that posting to FaceBook

right before settlement conference warranted sanctions under the court’s inherent

power to sanction). And, when defense counsel gets an extension, he then goes on

someone else’s channel, the day before the dispositive motion new deadline. He also

can be found to have violated the court’s orders - where he takes down the profile from

the previous post but then puts up another more extensive post with defense counsel’s

profile and then goes on someone else’s channel to further discuss it and raise it again.

This is clearly meant to intimidate and harass.

       With respect to rule to show cause, the Court set forth an order that Reyes

remove the post with defense counsel’s profile, he removed that post but then generated

another one that was more significant, by playing games with one post or another he

failed to substantially comply or comply and cannot show that he made a “reasonable

and diligent effort to comply.” Instead, to the contrary, Reyes instead opines that he “is

sure he’ll get a talking to by the judge or whatever.”


                                              6
    Case: 1:22-cv-07339 Document #: 74 Filed: 05/31/24 Page 7 of 7 PageID #:223




       Again, Reyes is someone who derives significant income from his YouTube

channel and suffered little to no monetary damages in this case. See Dkt No. 57, p. 1-3.

Indeed, he has immensely profited from his arrest and subsequent posts about his

criminal trial and now this civil proceeding.

       This Court and these court proceedings do not exist for Reyes to harass, to

entertain his followers, and to make money off social media posts.

       Reyes violated the court order, he knows it, and he did it purposefully to harass.

       WHEREFORE, the Defendants respectfully request that the Court: (a) enter an

order of rule to show cause as to why Reyes should not be held in contempt; or (b) enter

a sanction of dismissal or less appropriate sanction.

                                                    Respectfully submitted,

                                                    By: /s/ Cynthia S. Grandfield




Cynthia S. Grandfield
Sean M. Sullivan
DEL GALDO LAW GROUP, LLC
111 N. Wabash Avenue, Suite 908
Chicago, Illinois 60602
(312) 222-7000 (t)
grandfield@dlglawgroup.com




                                                7
